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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF ALABAMA
                                    NORTHERN DIVISION

Treva Thompson, Timothy Lanier,                )
Pamela King, Darius Gamble,                    )
and Greater Birmingham Ministries,             )
                                               )
          Plaintiffs,                          )
                                               )       Civil Action No.
    v.                                         )       2:16-cv-783-ECM-SMD
                                               )
John H. Merrill, in his official capacity      )
as Secretary of State, James Snipes, III, in   )
his official capacity as Chair of the          )
Montgomery County Board of Registrars,         )
and Leigh Gwathney, in her official            )
capacity as Chair of the Board of Pardons      )
and Paroles,                                   )
                                               )
          Defendants.                          )


                        STATE DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

          Pursuant to Rule 56 of the Federal Rules of Civil Procedure, the State Defendants (namely,

Secretary of State John H. Merrill, Chair of the Montgomery County Board of Registrars James

Snipes, III, and Chair of the Board of Pardons and Paroles Leigh Gwathney) respectfully move

this Court to enter judgment in their favor and against the Plaintiffs (namely, Treva Thompson,

Timothy Lanier, Pamela King, Darius Gamble, and Greater Birmingham Ministries) on all claims

remaining in this action (namely, Counts 1, 2, 11, 12, 13, 16, 17, and 18 (but not as to the Federal

Form)) and brought against them1 on the grounds that there is no genuine issue as to any material

fact, and each State Defendant is entitled to a judgment as a matter of law. This motion is based




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       Counts 1, 2, 11, 12, 16, and 17 are brought against Secretary Merrill and Chair Snipes.
Count 18 is brought against Secretary Merrill alone. Count 13 is brought against Chair Gwathney
alone.
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upon the pleadings filed to date, the orders entered to date, the evidence submitted to date, the

forthcoming brief in support, and the following exhibits attached hereto:

   1.    Exhibit 1 – Declaration and Expert Report of David T. Beito, Ph.D.;

   2.    Exhibit 2 – Alabama Constitution of 1819;

   3.    Exhibit 3 – Alabama Constitution of 1861;

   4.    Exhibit 4 – Alabama Constitution of 1865;

   5.    Exhibit 5 – Alabama Constitution of 1868;

   6.    Exhibit 6 – Alabama Constitution of 1875;

   7.    Exhibit 7 – Ala. Act No. 95-443;

   8.    Exhibit 8 – Certification of Results, Primary Election, June 4, 1996, Constitutional

         Amendments;

   9.    Exhibit 9 – Letter from USDOJ interposing no objection to (i.e., preclearing) the 1996

         Constitutional Amendment, which became Amendment 579;

   10.   Exhibit 10 – Submission to USDOJ for preclearance of Ala. Act No. 2011-656 which

         proposed a Constitutional Amendment that became Amendment 865 (includes a copy of

         Ala. Act No. 2011-656);

   11.   Exhibit 11 – USDOJ response to preclearance submission for Ala. Act No. 2011-656;

   12.   Exhibit 12 – Ala. Act No. 2017-378;

   13.   Exhibit 13 – Ala. Act No. 2019-513;

   14.   Exhibit 14 – Ala. Act No. 2003-415;

   15.   Exhibit 15 – Letter from USDOJ interposing no objection to (i.e., preclearing) Ala. Act

         No. 2003-415 which created the Certificate of Eligibility to Register to Vote process;

   16.   Exhibit 16 – Ala. Act No. 2016-387;



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17.   Exhibit 17 – Declaration of Karen L. Owen, Ph.D.;

18.   Exhibit 18 – Opinion to Hon. William C. Segrest, Executive Director, Board of Pardons

      and Paroles, dated March 18, 2005, A.G. No. 2005-092;

19.   Exhibit 19 – Dr. Beatty report on Article VIII, Suffrage and Elections. October 6, 1970.

      Alabama Constitutional Commission Administrative Files, 1969-1976, SG016523;

20.   Exhibit 20 – Letter from Edward R. Fields, National States Rights Party to Bill Baxley,

      Attorney General of the State of Alabama (Feb. 19, 1976);

21.   Exhibit 21 – Letter from Attorney General Bill Baxley to Edward R. Fields, National

      States Rights Party (Feb. 20, 1976);

22.   Exhibit 22 – Testimony of the Civil Liberties Union of Alabama to the Interim

      Legislative Committee on Constitutional Revision (Mar. 24, 1983);

23.   Exhibit 23 – Order of Permanent Injunction in Manley v. State, CV-83-1332-G

      (Montgomery County Circuit Court 1983); Memorandum Opinion and Declaratory

      Judgment in Manley v. State, CV-83-1332-G (Montgomery County Circuit Court 1983);

24.   Exhibit 24 – Entries of the Journals of the House of Representatives of the State of

      Alabama for 1995 Regular Session pertaining to the passage of House Bill 38, Act No.

      1995-443;

25.   Exhibit 25 – Transcript of the Journal of the Senate of Alabama, Regular Session 1995,

      Showing passage through the Senate of House Bill 38, Act No. 1995-443;

26.   Exhibit 26 – Letter from Rep. Jack B. Venable to Lynda K. Oswald (April 12, 1996);

27.   Exhibit 27 – Alabama Secretary of State John H. Merrill’s Objections and Answers to

      Plaintiffs’ First Set of Interrogatories to Him;

28.   Exhibit 28 – Deposition of Timothy Lanier;



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29.   Exhibit 29 – Letter from USDOJ interposing no objection to (i.e., preclearing) changes

      to voter registration forms in 2006;

30.   Exhibit 30 – Order in Worley v. Gooden, Case No. 1051712 (Ala. Oct. 25, 2006);

31.   Exhibit 31 – Plaintiff Greater Birmingham Ministries’ Responses and Objections to State

      Defendants’ Interrogatories (Nos. 1-17);

32.   Exhibit 32 – Plaintiff Greater Birmingham Ministries’ Responses and Objections to State

      Defendants’ Interrogatories (Nos. 18-25);

33.   Exhibit 33 – Memorandum of Understanding resolving threatened NVRA litigation;

34.   Exhibit 34 – First Amendment to Memorandum of Understanding resolving threatened

      NVRA litigation; and,

35.   Exhibit 35 – Fourth Declaration of Edward Packard.

                                             Respectfully submitted,


                                             Steve Marshall
                                               Attorney General

                                             s/Misty S. Fairbanks Messick
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                                   CERTIFICATE OF SERVICE

       I hereby certify that, on September 2, 2020, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which will send notification of such filing to the
following:      Armand       Derfner      (aderfner@derfneraltman.com);        Danielle     Lang
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                                            s/Misty S. Fairbanks Messick
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